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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

TINA MICHELLE BRAUNSTEIN,
' Civil Case No. 1:16-cv-08879 (VSB)

Plaintiff,

-against-

SAHARA PLAZA, LLC and THE PLAZA |
HOTEL, a FAIRMONT MANAGED HOTEL, } (Electronically Filed Document)

Defendants.

 

 

REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANTS’
MOTION FOR SUMMARY JUDGMENT DISMISSING THE COMPLAINT

 

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PRELIMINARY STATEMENT

Defendants Sahara Plaza, LLC (“Sahara” or the “Hotel”) and Fairmont Hotels & Resorts
(Maryland) LLC (incorrectly identified in the Complaint as “The Plaza Hotel, a Fairmont
Managed Hotel”) (collectively, the “Defendants”) moved on March 14, 2018 for summary
judgment seeking dismissal in its entirety of the Complaint filed by Plaintiff Tina Michelle
Braunstein (“Plaintiff or “Ms. Braunstein”), This memorandum of law, the second filed by
Defendants, replies to factual statements made by Ms. Braunstein in her rebuttal to Defendants’
Statement of Undisputed Material Facts. It also highlights several instances in which Plaintiff
failed to controvert legal arguments made by Defendants in their principal brief.

As Defendants will demonstrate below, there is no genuine issue as to any material fact

and Defendants are entitled to summary judgment as a matter of law.
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ARGUMENT

POINT I.

NOTWITHSTANDING PLAINTIFF’S CLAIMS TO THE
CONTRARY, THERE IS NO GENUINE ISSUE AS TO ANY MATERIAL FACT

The Supreme Court held long ago that “[a]n issue of fact is genuine only “if the evidence
is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson v.
Liberty Lobby, 477 US. 242, 248, 106 S.Ct. 2505 (1986). “As to materiality, the substantive law
will identify which facts are material. Only disputes over facts that might affect the outcome of
the suit under the governing law will properly preclude the entry of summary judgment.” Jd To
defeat Defendants’ motion, Plaintiff “must do more than simply show that there is some
metaphysical doubt as to the material facts.” Ulrich v. Moody’s Corp., 2017 WL 1232709
(S.D.N.Y.), at *10 (citing Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586,
106 S.Ct. 1348 (1986)). Moreover, Plaintiff may not rely on conclusory allegations or
unsubstantiated speculation.’” Fujitsu Ltd. y. Federal Express Corp., 247 F.3d 423, 428 (2d Cir.
2001) (quoting Scotto v. Almenas, 143 F.3d 105, 114 (2d Cir. 1998)). Rather, she must produce
admissible evidence that supports her pleadings. See First Nat'l Bank of Arizona v. Cities Serv.
Co., 391 U.S, 253, 289-90, 88 S. Ct. 1575 (1968). Ms. Braunstein has produced no such
evidence. Accordingly, this Court must grant Defendants’ motion because “the record taken as a
whole could not lead a rational trier of fact to find for the [Plaintiff].” Gayle v. Gonyea, 313
F.3d 677, 682 (2d Cir. 2002) (citing Matsushita Elec. Indus., supra at 587).

In her response to Defendants’ Statement of Undisputed Facts, Plaintiff, with just two
exceptions, does not dispute the authenticity of any of the documentary exhibits submitted with
Defendants’ motion papers. In one paragraph of her response ({ 18), she states that a note

written on December 18, 2014, “appear[s] to be fabricated to look like the style of Mr Mariano
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takes his note” [sic], but this is unsubstantiated speculation on Ms. Braunstein’s part and not
probative rebuttal evidence that it was, in fact, fabricated. She also references “a suspicious
second copy of plaintiffs review that does have written notes. Nobody has testified to knowing
who authored such notes.” [{] 21; emphasis in original]. However, Defendants did not rely on
that particular document to support their Motion and did not submit it as evidence. (See, instead,
Defendants’ Exhibit L — a copy of the actual review signed by Plaintiff.)

Plaintiff does not dispute what she herself wrote in the emails she authored, as she cannot
do so. In fact, she stands by what she wrote. [See, e.g., § 24]. Nor does she dispute the accuracy
of the transcription by Defendants’ law firm of her clandestinely recorded meeting with her
manager. (See response to § 32: “Ms. Braunstein appreciates that Defendants Council [sic] had
the iPhone recording transcribed. It has a few typo’s [sic] but it is accurate. Except for one
important omission on the first page ... . Other than that omission, the transcript appears pretty
accurate.”) (emphasis in original). That transcription reflects that her manager listened at length
to her concerns, spoke with her respectfully, and simply tried to explain to her why her
overbearing, judgmental and condescending personality and attitude were undermining her
working relationships with her co-workers. Ms. Braunstein even concedes that in “the meeting
with Mr Mariano & Plaintiff, he stated that there is a consensus that she is ‘difficult’ to work
with.” (4 16).

In several places, Ms. Braunstein “partially disputes” statements made by Defendants
relating to certain submitted documentary exhibits, based on her claim that neither her attorney
nor she had seen or been aware of them prior to discovery in this action. [See, e.g. ¥§ 4, 17, 23,
36, 37]. However, Ms. Braunstein cites no law or Hotel policy that required the sharing of such

documents with her while she was actively employed, and there is no such requirement. Further,

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whether Plaintiff did or did not know about these documents at the time she was employed at the
Hotel is immaterial to whether the documents reflect that she was subjected to unlawful
discrimination or retaliation. The documents Ms. Braunstein questions because she states she
had not previously seen them do not reflect that.

Some of Ms. Braunstein’s disputes over Defendants’ documentary exhibits are based
either on her disagreement over the author’s “perspective” ({§ 29, 31) or on her claim that certain
complaints made about her by co-workers — both male and female — were false. ({¥ 16, 24, 37).
However, she provides no probative evidence whatsoever that the statements she views as untrue
were made by anyone with the intent to discriminate or retaliate against her.

In other instances, Plaintiffs statements are outright conclusory, without evidentiary
support. (See ¥ 3 ~ “Defendants violated the agreement when they harassed, discriminated and
retaliated against Ms Braunstein.”; {21 - Ms. Braunstein review [sic] was used as retaliation for
her speaking out at work about the hostile and sexist environment that she was experiencing, . . .
.’; § 22 — Ms Braunstein was not treated the same as her male colleagues, . . . .”; concluding
unnumbered paragraph: “This is an establishment that has a perverse and pervasive system in
place to harm it’s [sic] female employees, .. . .;).

Moreover, so much of Plaintiffs rebuttal is nothing more than her wild and
unsubstantiated surmise, conjunctures, personal opinions, and speculation, There are numerous
examples of this:

e Plaintiff “wonders” if a negative statement made by Mr. Mariani (a “bartender on her
team’) was solicited by Defendants ( 14).

e Ms. Braunstein “believes” that once she wrote an email accusing Mr. McSorley of
harassment on December 8, 2015, “management learnt [sic] that she was not a female
that they can easily harass as that is the culture of their environment and that this
knowledge on their part was the beginning of the end for her employment.” ( 15).
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e She “wonders” if a “promised meeting did not happen because the Defendants
solicited complaints against her or if these alleged complaints were fabricated by
management or staff.” (¥ 16).

e Ms. Braunstein “questions” whether handwritten notes on a version of her
performance review on which Defendants do not rely were “done post her firing to
cover up the illegal treatment of her.” (21).

e She “questions” Mr. Hunt’s honesty during his deposition. ( 21).

e She asserts that “/a/pparenily her male colleagues were held to a lower set of
expectations.” (¥ 22).

e “Mr Rosa was no doubt having a hard time being bested by a female.” (¥ 23).

e Plaintiff posits that Defendants “appear to take offense to her being a strong woman.”

(q] 31).

e “Ms Braunstein wonders why Mr Mariano relied so heavily on other people’s
perceptions of Plaintiff which appears to contradict his own experiences with her.”

(4[ 34).

e “Ms Braunstein does not use foul language at work and one [sic] again claims that,
this is because employees are trying to cover up for their wrong doing.” ( 35).

e To Plaintiff, “[o]nce again, it appears that Mr Rosa’s email was sent through the
manager that was acting out towards” her. (¥ 37).

None of the foregoing statements constitutes admissible, probative, rebuttal evidence.

In addition to relying on inadmissible hearsay (see 415 — reference to unsworn letter of
recommendation; ¥ 21 — “Plaintiff has confirmation that Brian Van Flandern, the bar consultant
that assisted in the hiring & training and Mr Menite’s best friend was one of the people to get Mr
Menite in a 28 day rehab.”; (36 — reference to October 4, 2017 eater.com article; §39 — reference
to what Ms. Braunstein’s “EEOC counselor, Mr. Young,” purportedly encouraged her to do with
respect to filling out her EEOC charge; [43 ~ reference to New York Times review; 944 —
“August 2017 the news media picked up on this’), Ms. Braunstein incredulously suggests that
certain unsubstantiated Complaint allegations made against Defendants by different plaintiffs in

an unrelated civil action (1:18-cv-01266-DAB) constitute probative admissible evidence that
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Defendants discriminated and retaliated against Plaintiff! (See §§ 13, 19, 21, 31, 32, 44).
Plaintiff 1s sorely mistaken.

Because Plaintiff has failed to demonstrate that any material fact relied upon Defendants
is genuinely in dispute, there is no triable issue of fact justifying the denial of Defendants’
motion.

POINT I.
PLAINTIFF NEITHER DISCUSSES NOR DISTINGUISHES
ANY OF THE LEGAL AUTHORITY CITED BY DEFENDANTS,

WHICH ESTABLISHES THAT HER CAUSES OF ACTION
SHOULD SUMMARILY BE DISMISSED FOR LACK OF MERIT

A, Because Plaintiff Concedes that Her Signed EEOC Discrimination Charge
References Neither Alleged Ethnic Nor Age Discrimination, Her Federal
Ethnicity and Age Claims Must be Dismissed As a Matter of Law.

Plaintiff does not dispute that the formal Charge she signed filed with the EEOC omits
“age” and “religion” as discriminatory grounds relating to her employment; she simply states
that in one instance she checked “national origin” instead of religion “by mistake,” and otherwise
relied on “bad advice” she received from the EEOC representative who assisted her in preparing
the Charge. (See 439 in her Statement of Disputed Facts). Those explanations do not cure the
admitted deficiencies in her formal Charge.

Accordingly, for the reasons set forth on pages 16-18 of Defendants’ first brief, the First
Cause of Action, to the extent it alleges “ethnicity” Discrimination under Title VII, and the
Seventh Cause of Action, which alleges age discrimination under the Age Discrimination in
Employment Act of 1967, as amended, must be dismissed for lack of subject matter jurisdiction
because Ms. Braunstein failed to exhaust her administrative remedies through the EEOC with

respect to those claims.
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B. Because Plaintiff Has Not Produced Probative Evidence that She Was the
Victim of Severe or Pervasive Acts of Gender-Based Harassment, the Second
Cause of Action Must Be Dismissed As a Matter of Law.

At page 18 of their first brief, Defendants cite Love v. City of N.Y. Dep’t of Consumer
Affairs, 390 F. Supp.2d 362-371-72 (S.D.N.Y. 2005), which in turn cited Patterson v. County of
Oneida, 375 F.3d 206 (2d Cir. 2004), for the proposition that to sustain a hostile work
environment claim based on gender pursuant to Title VII, Plaintiff “must produce evidence that
the workplace was permeated with discriminatory intimidation, ridicule, and insult that was
sufficiently severe or pervasive to alter the conditions of [Plaintiff's] employment.” Plaintiff
does not question or distinguish the foregoing legal standard in her opposition papers. Nor does
she offer the quantum of evidence necessary to satisfy that standard, instead choosing to rely
upon inadmissible, unsubstantiated allegations by other plaintiffs in a complaint filed in an
unrelated civil action, and on her conclusory statement on multiple occasions that the actions by
one of her male co-workers were, in her opinion, “misogynistic.” (See §§ 8, 19 (stated twice),
27, 36).

Based on the totality of admissible evidence received by this Court, a reasonable person
would not find that the conduct Plaintiff alleges she endured was sufficiently severe or pervasive
to sustain a hostile work environment. (See Defendants’ first brief, at pages 18-20).
Accordingly, the Court should summarily dismiss the Second Cause of Action.

C. Because Plaintiff Has Produced No Probative Evidence that the Termination

of Her Probationary Employment Was Causally Connected to Any Claim of

Discrimination She Raised, The Third Cause of Action Must Be Dismissed
As a Matter of Law.

In their first brief, Defendants argued that Plaintiff had failed to satisfy the McDonnell
Douglas/Burdine burden-shifting framework that is applicable to retaliation claims, and that she

had failed to demonstrate the requisite causal connection between her claimed “protected
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activity” and her termination, because that adverse action was based upon a negative written
performance evaluation as well as multiple complaints raised against Ms. Braunstein by male
and female coworkers alike. (See Defendants’ first brief, at pages 20-22). Plaintiff's motion
Opposition papers do not challenge the applicability of Defendants’ cited legal authority to her
retaliation claim. Nor has Plaintiff submitted probative admissible evidence demonstrating that
those legal standards have been satisfied.

Accordingly, the Court should summarily dismiss the Third Cause of Action for lack of
legal merit.

D. Because Plaintiff Does Not Dispute that Her Fourth Cause of Action,

Sounding in Negligence, is Preempted as a Matter of Law, It Must
Summarily Be Dismissed.

The Fourth Cause of Action pleads “negligent supervision.” As noted in Defendants’
first brief, the New York Workers’ Compensation Law preempts claims for negligent
supervision. (See Defendants’ first brief, at pages 22-23). Ms. Braunstein’s opposition papers
do not cite any contrary legal authority. Accordingly, the Court should summarily dismiss the
Fourth Cause of Action.

E. Because Plaintiff Has Produced No Probative Evidence that Her Internal
Claims of Discrimination Were Not Investigated, the Fifth and Sixth Causes
of Action Should Summarily Be Dismissed As a Matter of Law.

The Fifth and Sixth Causes of Action allege that Defendants “failed to act on Plaintiffs
claims of discrimination, harassment and hostile work environment.” As noted in Defendants’
first brief, the evidence produced by Defendants in support of their summary judgment motion
reflects otherwise. (See Defendants’ first brief, at pages 23-25).

Plaintiff's opposition papers do not contradict those facts with probative, admissible

evidence. Rather, Plaintiff makes unsubstantiated conclusory statements in her Statement of

Disputed Material Facts that investigations were not conducted. In doing so, she conflates

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whether the remedial action she sought was taken with whether remedial action of any kind was
taken. [See Plaintiffs Statement, 12 (“Ms Braunstein concurs that Ms Paradis acknowledged
Plaintiff's email something Plaintiff appreciates. Unfortunately Ms Braunstein was forced to be
alone with the Taylor [sic] who had made inappropriate remarks about her during the delivery
and final fitting of her uniform jacket, making Plaintiff very uncomfortable and going against Ms
Braunstein’s original request to not be put in a situation be [sic] alone with him again.”); {13
(Plaintiff acknowledges Mr. Mariano’s responsive email thanking her “for taking the time to
report this to [him] in such detail,” and noting he was “appalled by the kind of behavior’ that
Plaintiff experienced, assuring her that “this will not be tolerated.”); 4916 & 31 (Plaintiff merely
claims that a meeting purportedly “promised” by Mr. Mariano did not occur during the 56 days
remaining prior to her termination, though she acknowledges it was scheduled and cancelled a
few times prior to her termination)].

Because Plaintiff has produced no probative, admissible evidence controverting
Defendants’ position that they continuously exercised reasonable care to prevent and correct
promptly any unlawful conduct, the Court should summarily dismiss the Sixth and Seventh

Causes of Action.
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CONCLUSION
For all of the forgoing reasons and for the reasons stated in Defendants’ first
memorandum of law, Defendants respectfully request that the Court grant their motion for
summary judgment and dismiss the Complaint in its entirety.

Respectfully submitted,

SILLS CUMMIS & GROSS P.C.
Attorneys for Defendants

By: /s/ David I. Rosen
David I. Rosen

 

Dated: June 18, 2018

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